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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MPR/RCH/ER/PP                                      271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   February 11, 2021

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Genaro Garcia Luna
                     Criminal Docket No. 19-576 (BMC)

Dear Judge Cogan:

                The parties respectfully submit this written status update to the Court in the
above-captioned matter. In light of the COVID-19 pandemic continuing to affect New York
City, the parties respectfully request that the Court adjourn the upcoming status conference
scheduled for February 17, 2021, for 60 days. The parties agree that an order of excludable
delay is appropriate based on the Court’s previous complex case designation in this matter and
Administrative Order 2020-26-2 (excluding time in all criminal jury trials until March 1, 2021,
in light of the ongoing COVID-19 pandemic).

              In addition, the parties respectfully write to update the Court on the following
issues:

    Discovery

          o The government continues the process of collecting and reviewing discovery for
            production to the defendant on a rolling basis. Following the parties’ last status
            letter on December 4, 2020, the government made an additional discovery
            production on December 15, 2020, totaling more than 19,000 pages of
            documents. That production included, among other things, financial records
            and Mutual Legal Assistance Treaty (“MLAT”) requests and responses. See
            Dkt. No. 57.

          o The government also is awaiting responses from outstanding subpoenas,
            including subpoenas to the defendant and his companies. In addition, the
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               government has submitted MLAT requests for evidence in the possession of
               several foreign governments. Although the government has received some
               responsive information, it is awaiting additional MLAT responses.

            o To date, the government has produced more than 974,000 pages of documents
              and voluminous intercepted communications. The government has produced
              the majority of the discoverable material in its possession. It expects to make
              smaller productions on a rolling basis as it receives additional discoverable
              materials and/or identifies such material in its possession. It expects to make its
              next production in the coming weeks.

       Trial Preparation

            o The parties continue to face delays in preparing for trial in this case, in light of
              the pandemic, including limitations on the government’s ability to meet with
              incarcerated witnesses and limitations on defense counsel’s ability to meet with
              the defendant.

       CIPA

            o The government has been able to resume its review of materials needed to
              complete litigation in this matter pursuant to the Classified Information
              Procedures Act, 18 U.S.C. App. 3, §§ 1-16 (“CIPA”), in this case, although it
              continues to face pandemic-related limitations. The government expects that
              the necessary steps to complete CIPA litigation will take several more months.
              The government will file its motion for a pretrial conference pursuant to Section
              2 of CIPA, once it is has a better sense of the anticipated schedule for completing
              CIPA litigation.

                                                     Respectfully submitted,

                                                     SETH D. DuCHARME
                                                     Acting United States Attorney

                                             By:       /s/
                                                     Michael P. Robotti
                                                     Ryan Harris
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cc:      Cesar de Castro, Esq.
         Clerk of the Court (BMC) (by ECF)

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